Case 2:08-cr-00013   Document 1009   Filed 02/07/14   Page 1 of 7 PageID #: 5717
Case 2:08-cr-00013   Document 1009   Filed 02/07/14   Page 2 of 7 PageID #: 5718
Case 2:08-cr-00013   Document 1009   Filed 02/07/14   Page 3 of 7 PageID #: 5719
Case 2:08-cr-00013   Document 1009   Filed 02/07/14   Page 4 of 7 PageID #: 5720
Case 2:08-cr-00013   Document 1009   Filed 02/07/14   Page 5 of 7 PageID #: 5721
Case 2:08-cr-00013   Document 1009   Filed 02/07/14   Page 6 of 7 PageID #: 5722
Case 2:08-cr-00013   Document 1009   Filed 02/07/14   Page 7 of 7 PageID #: 5723
